 Fill in this information to identify the case:

 Debtor 1               Brent M. McBeth
                       __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                            MIDDLE                           PA
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                             (State)
 Case number
                        1:19-bk-03035-HWV
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   PennyMac Loan Services, LLC                                                                              9-2
 Name of creditor: _______________________________________                               Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                          5955 ____ ____ ____
                                                         ____                            Must be at least 21 days after date       08    01   2021
                                                                                                                                   ____/____/_____
                                                                                         of this notice


                                                                                         New total payment:                          1,213.59
                                                                                                                                   $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
          No
      
      X
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________
                                              331.43*
                   Current escrow payment: $ _______________                           New escrow payment:            342.52
                                                                                                                   $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      
      X    No
          Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      
      X    No
          Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                         New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                              page 1

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     Debtor 1          Brent M. McBeth
                       _______________________________________________________                                                1:19-bk-03035-HWV
                                                                                                      Case number (if known) _____________________________________
                       First Name      Middle Name               Last Name




       Part 4:         Sign Here


       The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
       telephone number.
       Check the appropriate box.

               I am the creditor.

           X
                I am the creditor’s authorized agent.



       I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
       knowledge, information, and reasonable belief.



       _____________________________________________________________
          /s/ Lauren M. Moyer
           Signature
                                                                                                      Date    06 17 2021
                                                                                                              ____/_____/________




       Print:              Lauren M. Moyer
                          _________________________________________________________                   Title    Attorney for creditor
                                                                                                              ___________________________
                          First Name                      Middle Name          Last Name



       Company             McCabe, Weisberg & Conway, LLC
                          _________________________________________________________



       Address             123 S. Broad Street, Suite 1400
                          _________________________________________________________
                          Number                 Street

                           Philadelphia, PA 19109
                          ___________________________________________________
                          City                                                 State       ZIP Code



       Contact phone        215
                          (______)  790
                                   _____–   1010
                                          _________                                                          ecfmail@mwc-law.com
                                                                                                      Email ________________________




* The “current escrow” referenced on the attached exhibit corresponds to the last payment which was made contractually. The “current escrow” referenced on the instant Notice of
Mortgage Payment Change corresponds to the escrow amount required at the time of the most recent payment change.




     Official Form 410S1                                                     Notice of Mortgage Payment Change                                           page 2

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                       UNITED STATES BANKRUPTCY COURT
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
In re: Brent M. McBeth                           Chapter 13
                   Debtor(s)
PennyMac Loan Services, LLC, or its Successor or Bankruptcy No. 1:19-bk-03035-HWV
Assignee
                   Movant

              vs.

Brent M. McBeth
Jack N Zaharopoulos
                      Respondent(s)


 CERTIFICATION OF SERVICE OF NOTICE OF MORTGAGE PAYMENT CHANGE

       I, Lauren M. Moyer, attorney for PennyMac Loan Services, LLC, hereby certify that I
served a true and correct copy of the foregoing Notice of Mortgage Payment Change, by United
States Mail, first class, postage prepaid, and/or electronic means, upon the following:
Date Served: June 17, 2021


Brent M. McBeth                  John Matthew Hyams                Jack N Zaharopoulos
103 Old Ford Dr                  Law Offices of John M.            Standing Chapter 13 Trustee
Camp Hill, Pennsylvania          Hyams                             8125 Adams Drive, Suite A
170118336                        2023 N 2nd St                     Hummelstown, Pennsylvania
                                 Harrisburg, Pennsylvania          17036
                                 17102                             Trustee
                                 Attorney for Debtor

                                 Asst. U.S. Trustee
                                 228 Walnut Street, Suite 1190
                                 Harrisburg, Pennsylvania
                                 107101


                                      /s/ Lauren M. Moyer
                                      MARGARET GAIRO, ESQUIRE ID # 34419
                                      MARISA MYERS COHEN, ESQUIRE ID #87830
                                      LAUREN M. MOYER, ESQUIRE ID # 320589
                                      JAMES FRENCH, ESQUIRE ID # 319597
                                      Attorney for PennyMac Loan Services, LLC
                                      123 South Broad Street, Suite 1400
                                      Philadelphia, PA 19109
                                      Telephone: (215) 790-1010
                                      Facsimile: (215) 790-1274
                                      Email: ecfmail@mwc-law.com



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                                                                             Escrow Account Disclosure Statement
                                  P.O. Box 514387
                                  Los Angeles, CA 90051-4387
                                                                                      Statement Date: June 2, 2021
                                                                                      Loan Number:

                                                                                      Property Address:
                                                                                      103 OLD FORD DR
                                                                                      CAMP HILL PA 17011

                                                                                         Questions? Visit our website @
                                                                                         www.PennyMacUSA.com
BRENT M MCBETH
103 OLD FORD DR                                                                          (800) 777 - 4001 (Se Habla Español)
CAMP HILL, PA 17011-8336                                                                 M - F: 6:00 AM - 6:00 PM PT
                                                                                         Sat: 7:00 AM - 11:00 AM PT

Annual Escrow Account Review
At least once each year, PennyMac Loan Services, LLC (“PennyMac”) reviews your escrow account to make sure there
is enough money to pay your property taxes and/or insurance premiums. This statement informs you of any
adjustments to your monthly payment, shows you how much money you currently have in your escrow account and
how much you will need in the next 12 months.
Your New Mortgage Payment
During the next year, your escrow account balance is projected to have a shortage and/or escrow reserve payment
(meaning not enough funds to pay your taxes and/or insurance as they come due). See Your Escrow Shortage and/or
Escrow Reserve section on page 3 for more details.


                                             Current Monthly Payment           New Monthly Payment Amount with
                  Description
                                                     Amount                     Spread Shortage Over 12 Months

         Principal and Interest                       $871.07                              $871.07

         Escrow Payment                               $337.27                              $338.87

         Escrow Reserve Payment                        $10.11                                $3.65

         Total Payment Amount                        $1,218.45                            $1,213.59

Please start making the 'New Monthly Payment Amount' on August 1, 2021. Payments due prior to this date should be
made at the 'Current Monthly Payment Amount' shown.

Projected Escrow Account Activity
Over the next year, PennyMac expects to pay $4,066.53 from your escrow account. Your new monthly escrow
payment is $338.87.
                         Escrow Item Description               Annual Amount          Monthly Amount
                   Hazard Ins:                                   $1,305.00
                   City Tax:                                      $941.40
                   School Tax:                                   $1,820.13
                   Total Payments from Escrow:                   $4,066.53   ÷ 12 =       $338.87




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    Projected Escrow Account Activity (Continued)
    Below is a projection of escrow account activity from August 01, 2021 through July 31, 2022. These amounts may
    change when the actual payments become due.

                                                                                            Mortgage
                                            Escrow              Tax         Insurance       Insurance       Projected
                   Month                   Deposit(s)        Payment(s)    Payment(s)      Payment(s)        Balance

      Beginning Escrow Balance                                                                              $2,115.21
                                                                                                                         1
      Aug 2021                                $338.87         $1,820.13       $0.00               $0.00      $633.95
      Sep 2021                                $338.87              $0.00      $0.00               $0.00      $972.82
      Oct 2021                                $338.87              $0.00      $0.00               $0.00     $1,311.69
      Nov 2021                                $338.87              $0.00      $0.00               $0.00     $1,650.56
      Dec 2021                                $338.87              $0.00      $0.00               $0.00     $1,989.43
      Jan 2022                                $338.87              $0.00      $0.00               $0.00     $2,328.30
      Feb 2022                                $338.87              $0.00   $1,305.00              $0.00     $1,362.17
      Mar 2022                                $338.87          $941.40        $0.00               $0.00      $759.64
      Apr 2022                                $338.87              $0.00      $0.00               $0.00     $1,098.51
      May 2022                                $338.87              $0.00      $0.00               $0.00     $1,437.38
      Jun 2022                                $338.87              $0.00      $0.00               $0.00     $1,776.25
      Jul 2022                                $338.87              $0.00      $0.00               $0.00     $2,115.12
      Ending Escrow Balance                                                                                 $2,115.12
      Totals                                $4,066.44         $2,761.53    $1,305.00              $0.00
       1
           Lowest projected balance.



    Your Escrow Shortage and/or Reserve

    Based on the projected activity above, our review shows that you have an additional required balance of $43.80 to
    satisfy the reserve. See the lowest projected balance in the table above to find out when this will occur.


                           Lowest Projected Balance                                     $633.95

                           Minimum Required Balance                                     $677.75

                           Escrow Shortage and/or Escrow Reserve                         $43.80

    PennyMac requires a minimum balance up to one-sixth of the estimated total annual payments from your escrow
    account, unless state law or your mortgage contract requires less, to help cover any unexpected increases in taxes
    and/or insurance. The minimum required balance does not include mortgage insurance.




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           Escrow Account History

           The following is the statement of activity in your escrow account from August 01, 2020 through July 31, 2021.

           Last year, we anticipated that payments from your account would be made during this period equaling $4,047.33.
           Your lowest monthly balance should not have exceeded $674.55, or 1/6 of anticipated payments from the account,
           unless your mortgage contract or state law specifies a lower amount.

           The table below shows the Projected and Actual account history for the previous escrow account period.

                        Payments                                      Disbursements                                      Escrow Balance
Month       Projected         Actual         Projected       Description              Actual          Description         Projected          Actual
Beginning Escrow Balance                                                                                                    $2,002.89       $1,877.54

Aug 2020        $337.27       $347.38 *       $1,786.93       School Tax            $1,820.13 *        School Tax             $553.23        $404.792

Sep 2020        $337.27       $347.38 *           $0.00                                 $0.00                                 $890.50        $752.17

Oct 2020        $337.27       $694.76 *           $0.00                                 $0.00                               $1,227.77       $1,446.93

Nov 2020        $337.27          $0.00 *          $0.00                                 $0.00                               $1,565.04       $1,446.93

Dec 2020        $337.27       $347.38 *           $0.00                                 $0.00                               $1,902.31       $1,794.31

Jan 2021        $337.27          $0.00 *          $0.00                             $1,305.00 *        Hazard Ins           $2,239.58        $489.31

Feb 2021        $337.27       $347.38 *       $1,319.00       Hazard Ins                $0.00 *                             $1,257.85        $836.69

Mar 2021        $337.27       $694.76 *        $941.40         City Tax               $941.40           City Tax              $653.72        $590.05

Apr 2021        $337.27       $347.38 *           $0.00                                 $0.00                                 $990.99        $937.43

May 2021        $337.27       $347.38 *           $0.00                                 $0.00                               $1,328.26       $1,284.81

Jun 2021        $337.27          $0.00 *          $0.00                                 $0.00                               $1,665.53       $1,284.81
Jul 2021        $337.27       $830.40 *E          $0.00                                 $0.00                               $2,002.80       $2,115.21

Ending Escrow Balance                                                                                                       $2,002.80       $2,115.21

Totals        $4,047.24      $4,304.20        $4,047.33                             $4,066.53
      2
       Lowest actual balance.
      An asterisk ‘*’ beside an amount indicates a difference from projected activity, either in the amount or the date.
      The letter ‘E’ beside an amount indicates that the payment has not yet occurred, but is estimated to occur as shown.
      At the time of analysis, PennyMac assumes that you will make all scheduled mortgage payments by or before the effective date of your new
      payment (shown in the Projected Escrow Account Activity section above).




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                                                                      Other Important Information
                                       www.PennyMacUSA.com                               PennyMac Customer Service:                             PennyMac Loan Services, LLC
                                 Available 24/7 on all your devices:                (800) 777 - 4001                                        Attn: Correspondence Unit
      How to                     PC, Tablet, and Mobile.                                                                                    P.O. Box 514387
                                                                                    M - F: 6:00 AM - 6:00 PM PT
      Contact Us                 El sitio web y las declaraciones están                                                                     Los Angeles, CA 90051-4387
                                                                                    Sat: 7:00 AM - 11:00 AM PT
                                 disponibles en español.                            Fax: (866) 577 - 7205
                                 Go Paperless today!
                                 Auto-Pay *: Enroll in Auto-Pay, on our             Pay-by-Phone: (800) 777-4001                            Check **: Mail to PennyMac:
                                 website, to set up recurring payments from         (Fees may apply to use this service)                    Standard Address: P.O. Box 660929
        How to Make a            the bank account of your choice.                   Western Union:                                          Dallas, TX 75266-0929
        Payment                  Pay Online: Make a one-time payment on             Code City: PennyMac                                     Overnight Address:
                                 our website.                                       Pay To: PennyMac Loan Services                          Attn: Lockbox Operations
                                                                                    Code State: CA                                          20500 Belshaw Ave.
                                                                                    ID Number: Enter Loan Number                            Carson, CA 90746
                                 Property Tax Bills:                                                         General Insurance Questions: (866) 318-0208
                                 If you receive a tax bill, you do not need to take any action. (Please      Insurance Information: Any time there is a change to your insurance
                                 note: Supplemental/ Additional tax bills are the responsibility of the      policy please provide your insurance carrier the following
      Tax and                    homeowner; PennyMac will pay them from the escrow account upon              information:
      Insurance                  request.)                                                                           Mortgagee Clause:
      Information                                                                                                    PennyMac Loan Services, LLC
                                                                                                                     Its Successors and/or Assigns
                                                                                                                     P.O. Box 6618
                                                                                                                     Springfield, OH 45501-6618
      Credit                We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults on your account may
      Reporting Information be reflected in your credit report.

      Important                  This is an attempt by a debt collector to collect a debt and any information obtained will be used for that purpose. However, if your account
      Consumer                   is subject to pending bankruptcy proceedings or if you have received a discharge in bankruptcy, this statement is for informational purposes
      Information                only and is not an attempt to collect a debt against you personally.

      Requests for prior payment adjustments: To request funds for a prior payment be applied differently, you must notify PennyMac within 90 days of the original
      transaction. After 90 days, we will only change the application of funds if the transaction was applied contrary to your documented instructions.

* If you are enrolled in a PennyMac Auto-Pay program, and received a payment change notification, the new payment amount will be drafted on your scheduled draft date. (The
principal curtailment amount will not change.) If you pay via online bill payment, please update the payment amount with your financial institution to ensure timely processing of your
payment.
** When you pay with a check, you authorize PennyMac either to use information from your check to make a one-time electronic fund transfer (EFT) from your account, or to process the
payment as a check transaction. When we use information from your check to make an EFT, funds may be withdrawn from your account on the same day PennyMac receives your
payment. Please note that your financial institution will not send back your check. If funds are returned unpaid, a return service charge may be assessed to your loan whether processing
your payment as a check or an EFT, as allowed by applicable law.




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In accordance with the Fair Debt Collection Practices Act, 15 U.S.C. section 1692 et seq., debt collectors are prohibited from engaging in
abusive, deceptive, and unfair debt collection efforts, including but not limited to: (i) the use or threat of violence; (ii) the use of obscene or
profane language; and (iii) repeated phone calls made with the intent to annoy, abuse, or harass.

NEW YORK - If a creditor or debt collector receives a money judgment against you in court, state and federal laws prevent the following types
of income from being taken to pay the debt: 1) Supplemental security income (SSI); 2) Social security; 3) Public assistance (welfare); 4)
Spousal support, maintenance (alimony) or child support; 5) Unemployment benefits; 6) Disability benefits; 7) Workers' compensation benefits;
8) Public or private pensions; 9) Veterans' benefits; 10) Federal student loans, federal student grants, and federal work study funds; and 11)
Ninety percent of your wages or salary earned in the last sixty days. PennyMac Loan Services, LLC is registered with the Superintendent of
the New York State Department of Financial Services (Department). You may obtain further information or file a complaint by calling the
Department’s Consumer Assistance Unit at 1-800-342-3736 or by visiting www.dfs.ny.gov.

NORTH CAROLINA - Licensed by the North Carolina Department of Insurance. Permit No. 104753 - 6101 Condor Dr., Suite 200, Moorpark,
CA 93021. Permit No. 112228 - 14800 Trinity Blvd., Fort Worth, TX 76155. Permit No. 112874 - 3043 Townsgate Rd., Suite 200, Westlake
Village, CA 91361. Permit No. 112877 - 2201 West Plano Parkway, Suites 150 and 300, Plano, TX 75075. Permit No. 113746 - 10550 West
Charleston Blvd., Suite A, Las Vegas, NV 89135.

OREGON - The Oregon Division of Financial Regulation (DFR) oversees residential mortgage loan servicers who
are responsible for servicing residential mortgage loans in connection with real property located in Oregon and
persons required to have a license to service residential mortgage loans in this state. If you have questions
regarding your residential mortgage loan, contact your servicer at (800) 777-4001. To file a complaint about
unlawful conduct by an Oregon licensee or a person required to have an Oregon license, call DFR at
888-877-4894 or visit dfr.oregon.gov.
TEXAS - COMPLAINTS REGARDING THE SERVICING OF YOUR MORTGAGE SHOULD BE SENT TO THE DEPARTMENT OF
SAVINGS AND MORTGAGE LENDING, 2601 N. LAMAR, SUITE 201, AUSTIN, TX 78705. A TOLL-FREE CONSUMER HOTLINE IS
AVAILABLE AT (877) 276-5550. A complaint form and instructions may be downloaded and printed from the Department’s website located at
www.sml.texas.gov or obtained from the department upon request by mail at the address above, by telephone at its toll-free consumer hotline
listed above, or by email at smlinfo@sml.texas.gov.
                                                             Licensing Information


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LLC and/or its subsidiaries or affiliates. Arizona Mortgage Banker License # 0911088. Licensed by the Department of Financial Protection and
Innovation under the California Residential Mortgage Lending Act. Colorado: Colorado office: 700 17th St, Suite 200, Denver, CO 80202,
(866) 436-4766. Georgia Residential Mortgage Licensee #33027. Massachusetts Mortgage Lender License # MC35953. Minnesota: This is
not an offer to enter into an agreement and an offer may only be made pursuant to Minn. Stat. §47.206 (3) & (4). Licensed by the N.J.
Department of Banking and Insurance. Rhode Island Lender License # 20092600LL. Washington Consumer Loan License # CL-35953. For
more information, please visit www.pennymacusa.com/state-licenses. Loans not available in New York. Some products may not be available
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